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 7                                      UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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10    GARRISON JONES,                                    No. 2:19-cv-2374-KJM-EFB PS
11                         Plaintiff,
12              v.                                       ORDER
13    VELOCITY TECHNOLOGY
      SOLUTIONS LLC; STEVE KLOEBLEN;
14    SUSAN HALTOPP; MICHAEL
      BALDWIN; SHANA COLEMAN;
15    VICKIE LEROUX; J.C. ODOM; CHAD
      CARLSON; and CHRIS HELLER,
16
                           Defendants.
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               On July 31, 2020, the court informed plaintiff he could proceed with his viable FMLA
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     interference claim predicated on termination of his employment against defendant Velocity
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     Technology Solutions LLC or file an amended complaint. ECF No. 29. Plaintiff has elected not
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     to amend his complaint and to proceed only with the claim identified by the court as viable. ECF
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     No. 30.
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               Accordingly, IT IS ORDERED that:
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               1. Service is appropriate for defendant Velocity Technology Solutions LLC.
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               2. The Clerk of Court shall send plaintiff one USM-285 form, one summons, a copy of
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     the complaint, this court’s scheduling order, and the forms providing notice of the magistrate
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     judge’s availability to exercise jurisdiction for all purposes.
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     Case 2:19-cv-02374-KJM-EFB Document 31 Filed 08/12/20 Page 2 of 2

 1          3. Plaintiff is advised that the U.S. Marshal will require:
 2                  a. One completed summons;
 3                  b. One completed USM-285 form for defendant Velocity Technology Solutions
 4   LLC;
 5                  c. A copy of the complaint for Velocity Technology Solutions LLC, with an extra
 6   copy for the U.S. Marshal; and,
 7                  d. A copy of this court’s scheduling order and related documents for Velocity
 8   Technology Solutions LLC.
 9          4. Plaintiff shall supply the United States Marshal, within 14 days from the date this order
10   is filed, all information needed by the Marshal to effect service of process, and shall, within 14
11   days thereafter, file a statement with the court that said documents have been submitted to the
12   United States Marshal.
13          5. The U.S. Marshal shall serve process, with copies of this court’s scheduling order and
14   related documents, within 90 days of receipt of the required information from plaintiff, without
15   prepayment of costs. The United States Marshal shall, within 14 days thereafter, file a statement
16   with the court that said documents have been served. If the U.S. Marshal is unable, for any
17   reason, to effect service of process on any defendant, the Marshal shall promptly report that fact,
18   and the reasons for it, to the undersigned.
19          6. The Clerk of Court shall serve a copy of this order on the United States Marshal, 501
20   “I” Street, Sacramento, CA 95814 (tel. 916-930-2030).
21          7. Failure to comply with this order may result in a recommendation that this action be
22   dismissed.
23   DATED: August 12, 2020.
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